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AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case


                                    United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                                         (For Offenses Committed On or After November 1, 1987)
                               v.                                        Case Number: 2:99CR00433-04


      THONGSOUK THENG LATTANAPHOM,                                       Jeffrey Staniels, Tivon Schardl, Asst. Federal
     AKA THONGSOUK THENG LATTANAPHON;                                    Defenders
                AKA KEVIN                                                Defendant’s Attorney


THE DEFENDANT:
[]       pleaded guilty to count(s): .
[]       pleaded nolo contendere to counts(s)        which was accepted by the court.
[U]      was found guilty on count(s) 1, 2, 3, 6, 7, 8 and 9 of the Indictment after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                            Date Offense           Count
Title & Section                      Nature of Offense                                      Concluded              Number(s)
See Page 2.



       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)             and is discharged as to such count(s).

[]       Count(s)       (is)(are) dismissed on the motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[U]      Appeal rights given.                          []        Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                 March 3, 2010
                                                                 Date of Imposition of Judgment



                                                                 Signature of Judicial Officer


                                                                 WILLIAM B. SHUBB, United States District Judge
                                                                 Name & Title of Judicial Officer

                                                                 March 10, 2010
                                                                 Date
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AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case
CASE NUMBER:                2:99CR00433-04                                          Judgment - Page 2 of 6
DEFENDANT:                  THONGSOUK THENG LATTANAPHOM, AKA THONGSOUK THENG LATTANAPHON; AKA
                            KEVIN
                                                                                   Date Offense   Count
Title & Section                      Nature of Offense                             Concluded      Number(s)
18 USC 1951(a)                       Conspiracy to Commit a Robbery Affecting      1/25/1996      1
                                     Interstate Commerce
18 USC 942(c)(1)                     Use of a Firearm During a Crime of Violence   1/25/1996      2
18 USC 924(i)(1) and 2               Death Caused by Use of a Firearm During a     1/25/1996      3
                                     Crime of Violence and Aiding and Abetting
18 USC 1951(a)                       Conspiracy to Commit a Robbery Affecting      1/17/1996      6
                                     Interstate Commerce
18 USC 924(c)(1)                     Use of a Firearm During a Crime of Violence   1/17/1996      7
18 USC 1951(a)                       Conspiracy to Commit a Robbery Affecting      1/20/1996      8
                                     Interstate Commerce
18 USC 924(c)(1)                     Use of a Firearm During a Crime of Violence   1/20/1996      9
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:99CR00433-04                                        Judgment - Page 3 of 6
DEFENDANT:                 THONGSOUK THENG LATTANAPHOM, AKA THONGSOUK THENG LATTANAPHON; AKA
                           KEVIN


                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of 240 months, as to each of Counts 1, 6 and 8, and a term of Life as to Count 3, all such counts to be served concurrently
to each other; a term of 60 months on Count 2, and 240 months on each of Counts 7 and 9, all such counts to be served
consecutively to each other; all such terms imposed to be served for a total term of Life plus 540 months.




[U]      The court makes the following recommendations to the Bureau of Prisons: The Court recommends that the
         defendant’s desire to be detained at an institution separate from certain other individuals be taken into account in
         determining place of confinement, but only insofar as this recommendation accords with security classification and
         space availability.


[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                 Deputy U.S. Marshal
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AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:               2:99CR00433-04                                         Judgment - Page 4 of 6
DEFENDANT:                 THONGSOUK THENG LATTANAPHOM, AKA THONGSOUK THENG LATTANAPHON; AKA
                           KEVIN


                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months as to Counts 1, 2,
6, 7, 8, 9; and 60 months as to Count 3; all such terms to be served concurrently for a total term of 60 months.



                                 SPECIAL CONDITIONS OF SUPERVISION
Supervised release: No terms or conditions of supervised release are imposed as ordered by the Court, unless
defendant's sentence is overturned and defendant is sentenced to a term of less than Life, at which time the court will then
reconsider said sentence as is appropriate.
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AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:99CR00433-04                                         Judgment - Page 5 of 6
DEFENDANT:                    THONGSOUK THENG LATTANAPHOM, AKA THONGSOUK THENG LATTANAPHON; AKA
                              KEVIN


                                           CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                         Fine                    Restitution
       Totals:                                          $ 350                            $                          $


[]     The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed
       below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
       3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                        Total Loss*                 Restitution Ordered Priority or Percentage


       TOTALS:                                           $                              $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
       full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
       on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                 [ ] fine          [ ] restitution

       [ ] The interest requirement for the                  [ ] fine [ ] restitution is modified as follows:




[]     If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]     If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:99CR00433-04                                         Judgment - Page 6 of 6
DEFENDANT:                   THONGSOUK THENG LATTANAPHOM, AKA THONGSOUK THENG LATTANAPHON; AKA
                             KEVIN

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $              due immediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,   [ ] D,   [ ] E, or            [ ] F below; or

B    [ ] Payment to begin immediately (may be combined with                    [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of                (e.g., months or
         years), to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $  over a period of    (e.g., months or
         years), to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within   (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
         that time; or

F    [U]           Special instructions regarding the payment of criminal monetary penalties: Court authorizes defendant to
                   pay penalty assessment from prison earnings through the inmate financial responsibility program.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
